Case 18-06044-LT11      Filed 07/22/19   Entered 07/22/19 18:01:02   Doc 337   Pg. 1 of
                                           13


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 8                       UNITED STATES BANKRUPTCY COURT
 9              SOUTHERN DISTRICT OF CALIFORNIA – SAN DIEGO
10
     In re                                        Case No. 18-06044-LT11
11
                                                  Chapter 11
12
     JESSE WAYNE DAWBER,                          [Jointly Administered with Case No. 19-
13                                                00293-LT11]
             Debtor-In-Possession.
14                                                OBJECTION TO FORCE 10
                                                  PARTNERS MONTHLY FEE
15                                                STATEMENT #4 FOR THE PERIOD
                                                  FROM JUNE 1, 2019 THROUGH
16   JESSE DAWBER, an individual                  JUNE 30, 2019
17           Case No. 18-06044-LT11
18   CLASS WAR, INC., a California                Judge: Hon, Laura Taylor
19   corporation,                                 Dept.: 3, Room 129
20           Case No. 19-00293-LT11
21           Debtors.
22
     [X] Affects both Debtors.
23   [ ] Affects Class War, Inc. only.
     [ ] Affects Jesse Dawber only.
24

25

26           Creditor Jack Schindler (“Schindler”) hereby objects to the above-referenced
27   Monthly Fee Statement for the reasons explained in detail below:
28   ///
                                                 1
               OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11   Filed 07/22/19   Entered 07/22/19 18:01:02   Doc 337   Pg. 2 of
                                        13


 1                                            I.
 2                                    INTRODUCTION
 3         Force 10/Mr. Rosenthal have been employed by Class War since November
 4   9, 2018 – when Drew Madacsi hired them. (See Exhibit 2 to First Day Declaration
 5   of Jeremy Rosenthal [Dkt. 5 in Class War Bankruptcy case number 19 – 293].)
 6         Even before Class War filed its Chapter 11 Petition, Debtor Jesse Dawber
 7   sought the Court’s blessing on Mr. Rosenthal’s employment as sole director, sole
 8   officer, and Chief Restructuring Officer for Class War through a motion seeking
 9   approval of Post-Petition Shareholder and Director Resolutions. [Dkt. 41].
10   Schindler opposed Dawber’s petition. [Dkt. 64]. On January 24, 2019 the Court
11   denied as unnecessary Dawber’s motion with respect to the post-petition
12   resolutions. [Dkt. 112]
13         On February 25, 2019, Debtor Class War filed a motion seeking an Order
14   approving the employment of Force 10 Partners (Jeremy Rosenthal) and
15   authorizing monthly fee statement and payment procedures. [Dkt. 151]. Schindler
16   opposed Class War’s Motion to retain Force 10. [Dkt. 176]. On April 17, 2019,
17   the Court overruled Schindler’s objection and granted the Motion, implementing
18   the procedure whereby Force 10 would file and serve a report of compensation
19   earned and expenses incurred for the previous month, affording all parties with
20   standing before the Court ten days from service of the Fee Statement to object.
21   [Dkt. 243.]
22         On July 11, 2019, Class War served the Force 10 Partners notice of monthly
23   fee statement covering the period from June 1, 2019 through June 30, 2019. [Dkt.
24   323.] Schindler objects to any payment of said fees for the reasons set forth below.
25   ///
26   ///
27   ///
28   ///
                                              2
              OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11      Filed 07/22/19     Entered 07/22/19 18:01:02       Doc 337      Pg. 3 of
                                             13


 1                                                  II.
 2            FORCE 10’S SERVICES DO NOT MEET THE STANDARDS
 3                          REQUIRED BY 11 U.S.C. SECTION 330
 4          In In re Knudsen Corp. 84 BR 668 (B.A.P. 9th Cir. 1988), the Bankruptcy
 5   Appellate Panel of the Ninth U.S. Circuit Court of Appeals held that it was
 6   permissible for a Bankruptcy Court to authorize (non-final) fee payment to
 7   professionals on a summary application procedure, allowing them to receive
 8   compensation each month without prior court approval. This Court’s Order in the
 9   instant matter [Dkt. 243] was entered in accord with this authority.
10          As the Court determined on Friday, July 19, 2019, however, fraudulent
11   conduct by the Debtors required an immediate suspension of these Knudsen Orders.
12   Thus, although a formal order on the subject has not yet been signed, it is
13   respectfully submitted that the authority under which Force 10 would be allowed to
14   follow the summary monthly application procedure has vanished and, for this
15   reason alone, payment of the fees claimed by this applicant for the month of June,
16   2018, must be denied.
17          Substantively, however, the recent revelations explained to this Court by its
18   Examiner reveal that Force 10’s services do not satisfy the requirements of 11
19   U.S.C. section 330 and, therefore, no further compensation should be payable to
20   this consultant. 1 Specifically, 11 U.S.C. section 330 provides, in pertinent part:
21

22
            (a)(3) in determining the amount of reasonable compensation to be
            awarded to [a] … professional persons, the court shall consider the
23          nature, the extent, and the value of such services, taking into
24          account all relevant factors, including –

25          (A) the time spent on such services;
26

27   1
       By this phraseology, Schindler by no means infers that Force 10 should be entitled to retain the
     fees it has already milked from this Estate. In fact, at the appropriate time, it is respectfully
28   submitted that disgorgement of Force 10's exorbitant fees in excess of the $300,000 already paid
     to them will be appropriate.
                                                       3
               OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11      Filed 07/22/19    Entered 07/22/19 18:01:02       Doc 337     Pg. 4 of
                                            13


 1          (B) the rates charged for such services;
 2          (C) whether the services were necessary to the administration of,
 3          or beneficial at the time at which the service was rendered toward
            the completion of, a case under this title;
 4
            (D) whether the services were performed within a reasonable
 5
            amount of time commensurate with the complexity, importance,
 6          and nature of the problem, issue, or task addressed;
 7          (E) with respect to a professional person, whether the person is
            board certified or otherwise has demonstrated skill and experience
 8
            in the bankruptcy field; and
 9
            (F) whether the compensation is reasonable based on the
10          customary compensation charged by comparably skilled
11          practitioners in cases other than cases under this title.

12          (4)(A) Except as provided in subparagraph (B), the court shall not
13          allow compensation for—

14          (i) unnecessary duplication of services; or
15          (ii) services that were not--
                    (I) reasonably likely to benefit the debtor’s estate; or
16                  (II) necessary to the administration of the case.
17

18          In taking these factors into account, and in light of all other relevant
19   considerations, Force 10 is not entitled to the money it seeks in this instance, and
20   frankly did not legitimately earn what it has already been paid.
21          Specifically, Force 10 was hired November 9, 2018 – in a contract signed by
22   none other than Drew Madacsi. Arent Fox, representing dishonest debtor Dawber,
23   brought Mr. Rosenthal on board and, indeed, Mr. Rosenthal and Arent Fox
24   admittedly have an ongoing relationship in other cases as well as this one. Thus,
25   the involvement of Force 10 was tainted from the beginning, as established by the
26   evidence obtained and revealed by this Court’s Examiner. 2
27
     2
       See Exhibit 17 to 2004 examination of Jeslyn Leong, documenting Madacsi, Leong, and Arent
28   Fox arranging for STFU to wire $250,000 into the Arent Fox trust account as the first installment
     of a $700,000 loan to be used “solely for legal expenses.”
                                                      4
               OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11    Filed 07/22/19   Entered 07/22/19 18:01:02   Doc 337    Pg. 5 of
                                         13


 1         The Declaration of Trust appended to the Examiner’s Preliminary Report as
 2   Exhibit A – as the Court inquired at the hearing on Friday, July 19, 2019 – was
 3   actually in Class War’s records the entire time. Mr. Finlayson found it in less than
 4   two weeks; Mr. Rosenthal never found it in over seven months despite assuring this
 5   Court that he was diligently reviewing Class War’s records and investigating
 6   whether or not it had potential avoidance actions. Clearly, Class War did not come
 7   close to getting what it paid Mr. Rosenthal $600 per hour to do.
 8          According to Class War’s Balance of Schedules filed February 6, 2019,
 9   Force 10 was paid $134,666.37 for its work with Class War while the Dawber
10   Petition was pending, and before Class War filed its Chapter 11 Petition – not bad
11   for two months work. [See page 11 of Dkt. 26 in Class War case.] With the latest
12   sum requested of $20,970, Force 10 will have billed $175,977.50 post-Petition.
13   Adding these two figures together takes the total paid to Force 10 over $300,000 –
14   for what? The only tangible “result” is a minuscule “license” Mr. Rosenthal so
15   proudly negotiated with none other than STFU, and which has produced less in
16   royalties from the company we now know Mr. Dawber secretly owns than the
17   monthly bills of the Debtors’ professionals. What benefit did these Estates obtain
18   where “professionals” like Force 10 do nothing other than consume hundreds of
19   thousands of dollars and leave no funds for distribution to creditors?
20         Thus, in considering whether Force 10’s services were necessary or
21   beneficial to the case, or demonstrated skill or experience in the bankruptcy field,
22   the resounding answer is “no.”         Clearly, the Court should not allow this
23   compensation because these services were not reasonably likely to benefit the
24   Debtors’ estate nor necessary to the administration of the case. In fact, they were
25   actually detrimental.
26         Specifically, here is what the Bankruptcy Estates got from Force 10 in
27   exchange for nearly a third of a million dollars: (1) Class War gave away its
28   intellectual Property for no consideration whatsoever under Mr. Rosenthal’s
                                               5
              OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11     Filed 07/22/19   Entered 07/22/19 18:01:02   Doc 337   Pg. 6 of
                                          13


 1   watchful eye by virtue of the Nunc Pro Tunc Assignment executed by Mr. Madacsi
 2   on November 15, 2018 – after Mr. Rosenthal was hired. Mr. Rosenthal told the
 3   Court that he was “continuing to evaluate” whether this transaction could be
 4   avoided. Six months later, no action was taken, despite Schindler urging that the
 5   matter be pursued, (2) a bad faith Joint Plan of Reorganization was filed and signed
 6   by Jeremy Rosenthal proposing to put fraudster Jesse Dawber back in control and
 7   paying his secret company STFU $250,000 as an allowed claim, (3) an Amended
 8   Proposed Plan of Reorganization signed by Mr. Rosenthal on April 18, 2019, was
 9   filed to similar effect, (4) an opposition to Schindler’s Motion for Appointment of a
10   Trustee or Examiner was filed by Class War which took issue with Schindler’s
11   assertion Mr. Rosenthal would never pursue avoidance claims.
12         Here is what Class War’s Opposition filed April 9, 2019 [Dkt. 223] says on
13   page 12:
14         Mr. Rosenthal has responsibly testified that many of the
15
           transactions at issue are not actually transfers of an estate interest
           in property and that Class War “may not be able to seek to avoid”
16         such transactions.
17   Class War’s Opposition relied heavily on Mr. Rosenthal’s Declaration that Class
18   War was negotiating a potential post-confirmation domestic license of Class War’s
19   Intellectual Property (to the extent any remained) to Faction and that it is Mr.
20   Rosenthal’s view that “Mr. Roberts is uniquely positioned to maximize the value
21   of Class War’s Intellectual Property.”         [Dkt. 223, p. 22, lines 21-22.]      Mr.
22   Rosenthal’s opposition Declaration further indicated that “Mr. Roberts has
23   preliminarily agreed to enter into a new license directly with Class War at a rate
24   above Class War’s current royalty rate with STFU Global Pte. Ltd. (“STFU”).”
25   [Id. at lines 25 – 27.] In order to pursue this fabulous opportunity, Mr. Rosenthal’s
26   view was that “entering into a license agreement with Mr. Roberts will necessitate
27   compromising the estate’s claims against him and Faction.” [Id at page 23,
28   lines 1–3; emphasis added.]           In fact, Class War’s Opposition actually
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                OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11   Filed 07/22/19     Entered 07/22/19 18:01:02   Doc 337   Pg. 7 of
                                          13


 1   foreshadowed Schindler’s concern that the co-conspirators in this fraud will
 2   nevertheless end up with the assets they stole, by manipulating the process so that
 3   their illegal activities will in essence be absolved. Here is what Class War’s
 4   Opposition said on that subject:
 5         In the event that at the joint–plan auction STFU provides the highest
 6
           value as licensee for some or all of Class War’s Intellectual Property,
           then Mr. Rosenthal similarly expects that STFU will seek to
 7         compromise the estate’s claim against it as part of its license.
 8         [Dkt. 223, p. 13, lines 24 – 27; emphasis added.]

 9   Class War’s Opposition to Schindler’s Motion which resulted in appointment of the
10   Examiner also told the Court:
11         It is time to recognize the obvious: Mr. Schindler has done more
12         investigation of this debtor and its affiliates, more investigation of the
           underlying transactions – all fully disclosed post – petition and
13         authenticated by Mr. Rosenthal in his First Day and March 11th
14         Declarations – than a Chapter 11 Trustee is likely to be able to
           accomplish… Mr. Schindler continues to rehash pre-petition conduct
15         and has failed to identify any post-petition mismanagement or
16         fraud. (Id. at p. 14, lines 12 – 18; emphasis added.)

17         We all know, now that the truth has come to light, it is not Mr. Schindler who
18   was wildly off track, but Mr. Rosenthal who did his best to cooperate (unknowingly
19   – he says) with the fraudulent conduct which has now been proven to this Court.
20   Clearly, the evidence establishes that, at the very least, Mr. Rosenthal indefensibly
21   turned a blind eye toward the fraud he so emphatically denied – even ridiculed. In
22   other words, ineptitude is the most charitable, but certainly not the only,
23   explanation.
24         Specifically, Mr. Rosenthal’s opposition Declaration tells the Court that his
25   statements are based upon his “review of relevant documents” and/or “my opinion
26   based upon my experience and knowledge of the Debtor’s operations and financial
27   conditions.” [Dkt. 223 p. 20.] Mr. Rosenthal even tells the Court that an appeal of
28   the judgment in Schindler’s favor is well taken and should be pursued – although he
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              OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11     Filed 07/22/19   Entered 07/22/19 18:01:02      Doc 337    Pg. 8 of
                                          13


 1   knows absolutely nothing about the case. [Ibid.] Why would someone advocate so
 2   strongly for something they know nothing about if they were actually objective?
 3   The obvious answer is, they wouldn’t do so.
 4          In paragraph 5 of his opposition Declaration, Mr. Rosenthal tells the Court
 5   that in his “business judgment” it is in the best interest of Class War and its
 6   creditors to pursue the Joint Plan (which has now been withdrawn based upon the
 7   underlying fraud) in conjunction with Mr. Dawber personally. In paragraph 6, Mr.
 8   Rosenthal tells the Court just how much money could be generated by the licensing
 9   model; curiously, this precise methodology was supplied to Mr. Rosenthal by,
10   again, Drew Madacsi.          In paragraph 8, Mr. Rosenthal says they are “still
11   evaluating” potential preference actions and, in paragraph 11, urges that it is a
12   fantastic idea for Class War to work with Faction and STFU. Finally, in paragraph
13   12, Mr. Rosenthal concludes with an assentation that he is not a party to any
14   conspiracy to impair or ignore valuable estate assets. All of this is difficult to
15   accept in light of the recent revelations.
16          Specifically, Mr. Rosenthal was examined by Jesse Finlayson on July 8,
17   2019. One of the issues upon which he was questioned focused upon Mr. Rosenthal
18   permitting Mr. Madacsi to execute the Nunc Pro Tunc Assignment giving away
19   Class War’s intellectual property to STFU in exchange for no consideration.3 Mr.
20   Rosenthal testified that he was still (now over seven months later) evaluating
21   whether or not that was a proper transaction and that he had permitted this to occur
22   because Drew Madacsi sent him (Rosenthal) an e-mail from lawyers which
23   expressed the opinion that assigning this intellectual property to STFU was
24   required. While sitting by and watching Drew Madacsi give away the farm is
25   difficult enough to explain, there are other very serious questions about Mr.
26   Rosenthal’s conduct.
27
     3
       Mr. Schindler’s counsel does not have a copy of the Rosenthal 2004 Examination conducted by
28   Mr. Finlayson. Schindler’s counsel was, however, present at the Rosenthal Examination and the
     representations herein are based upon good faith recollection of the proceedings.
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               OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11   Filed 07/22/19   Entered 07/22/19 18:01:02   Doc 337   Pg. 9 of
                                        13


 1         First, as this Court will recall from the hearing on Friday, July 19. 2019, the
 2   “Declaration of Trust” whereby Jeslyn Leong holds the entirety of STFU shares in
 3   trust for Mr. Dawber was in Class War’s own files. That is where Examiner
 4   Finlayson told the Court he ultimately located the document. If Mr. Finlayson was
 5   able to locate this document in a couple of weeks, why is it that Mr. Rosenthal
 6   never found it despite telling this Court on innumerable occasions that he was
 7   qualified to give declarations because he had reviewed the records of Class War and
 8   was knowledgeable thereon? One would think that paying over $300,000 would at
 9   least be adequate to obtain a review of Class War’s own documentation.
10         Mr. Rosenthal certainly had no difficulty expressing opinions favorable to
11   Mr. Dawber concerning what Class War should do in terms of signing on to the
12   fraudulent Joint Plan, or entering into a license with STFU (which Mr. Dawber
13   secretly owns) or Faction (run by Matt Roberts which took over Class War’s
14   business).   Perhaps his investigation of Class War’s books and records was
15   selective or cursory; in either instance, should this estate pay over $300,000 for
16   such slipshod conduct which, as Schindler objected from the very beginning, was
17   rendered by an individual with no experience whatsoever in the apparel industry nor
18   in actually running a business. The answer is “no,” and this Bankruptcy Court
19   should not for one moment countenance the dissipation of valuable estate money
20   legitimately payable to creditors by compensating a retired Bankruptcy lawyer in
21   his new chosen field in which he is either inept or worse.
22         Even this, however, is not the end of it. As this Court may recall, on
23   November 15, 2018, Schindler filed a Motion for Appointment of a Trustee or
24   Examiner in the Dawber case. Mr. Rosenthal provided a declaration in opposition
25   to that Motion supporting the thesis that “Vaughn asked us to remove Madacsi, and
26   we have done so, so no trustee should be appointed.” This falsehood proffered to
27   the Court among so many others resulted in this Court continuing the first Motion
28   seeking Appointment of a Trustee, rather than granting it. The Court did so in
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              OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11       Filed 07/22/19   Entered 07/22/19 18:01:02   Doc 337   Pg. 10 of
                                             13


  1   reliance upon the Dawber and Class War representation that “old management
  2   [Madacsi] is out.” This was false – and Mr. Rosenthal knew it at the time.
  3           Specifically, a large number of things coincided on November 29, 2018. On
  4   this day: (1) Mr. Rosenthal filed a declaration for Mr. Dawber in opposition to
  5   Schindler’s first Motion seeking Appointment of a Trustee, (2) Mr. Dawber filed
  6   his Motion seeking approval of Shareholder Resolutions [purportedly having
  7   removed Mr. Madacsi two weeks earlier] and replacing him with Mr. Rosenthal,
  8   and (3) Mr. Rosenthal was copied on an e-mail Drew Madacsi wrote as CEO of
  9   Class War concerning additional documentation necessary to ensure Class War
 10   effectively transferred everything to STFU. 4 What a moment; did Dawber not tell
 11   this Court that Madacsi had been removed from office back on November 15th with
 12   the Shareholder Resolutions which appointed Mr. Rosenthal? That is exactly what
 13   they told the Court yet, two weeks later, Drew Madacsi is corresponding with
 14   STFU on behalf of Class War and explicitly copying Mr. Rosenthal while he
 15   (Madacsi) is still acting as Class War CEO to ensure that Class War was divested of
 16   all intellectual property. More than two weeks later, on December 14, 2018, Mr.
 17   Madacsi is still writing to Mr. Rosenthal – and Jesse Dawber – using his Class War
 18   email address (drew@classwarinc.com) and signing off as “Advisor” to Class War
 19   Inc.5 This type of conduct – telling the Court “Madacsi is out” while still working
 20   with him the very day those fraudulent representations were made – and weeks later
 21   – is indefensible and these startling revelations which soundly contradict the
 22   Rosenthal representations merit denial of any additional compensation to Force 10.
 23                                                III.
 24                                         CONCLUSION
 25           Force 10 claims entitlement to more money which, if allowed, will increase
 26   the amount paid to this consultant to more than $300,000. The Estate herein got
 27

 28   4
          See Exhibit 20 to Madacsi 2004 Examination.
      5
          See Exhibit 11 to Madacsi 2004 Examination.
                                                    10
                  OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11    Filed 07/22/19   Entered 07/22/19 18:01:02   Doc 337    Pg. 11 of
                                          13


  1   nothing in return and, in fact, Mr. Rosenthal did his utmost to prevent the Court’s
  2   Examiner from being appointed, to support the desires of dishonest Debtor Dawber,
  3   and to prevent Schindler from obtaining any of the relief which has revealed the
  4   pervasive fraud perpetrated upon the Court and creditors herein. In fact, the
  5   evidentiary record reveals that Mr. Rosenthal was complicit with the
  6   misrepresentations made to this Court – “Madacsi is out” – in order to prevent a
  7   trustee from being appointed early on in the case. It is respectfully submitted that
  8   the concept more money should be paid for conduct like this is patently insane, and
  9   this Court should, therefore, sustain Mr. Schindler’s objection to doing so.
 10                                                 Respectfully submitted,
 11   Dated: July 22, 2019                          VAUGHN & VAUGHN
 12

 13                                         By:     /s/ DONALD A. VAUGHN
                                                    Attorneys for JACK SCHINDLER
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               OBJECTION TO FORCE 10 PARTNERS MONTHLY FEE STATEMENT FOR JUNE 2019
Case 18-06044-LT11   Filed 07/22/19   Entered 07/22/19 18:01:02   Doc 337   Pg. 12 of
                                         13
Case 18-06044-LT11   Filed 07/22/19   Entered 07/22/19 18:01:02   Doc 337   Pg. 13 of
                                         13
